Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 1 of 33           PageID #:
                                   1052



                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

COLETTE AOKI, Individually and as )        CIVIL NO. 20-00464 HG-RT
Personal Representative of the    )
ESTATE OF GRACE S. AOKI; et al., )         MEMORANDUM IN SUPPORT OF
            Plaintiffs,           )        MOTION
                                  )
      vs.                         )
                                  )
MOBILEHELP LLC; et al.,           )        Judge: The Honorable Helen Gillmor
            Defendants.           )        Trial Date: March 15, 2022
_______________________________ )
843-3/MPSJ
                  MEMORANDUM IN SUPPORT OF MOTION

I.      INTRODUCTION

        This is a product liability case. Plaintiffs seek to blame the November 25,

2019 death of Grace S. Aoki, on the alleged failure of a MobileHelp medical alert

system in her apparent possession on that day. See ECF 1-1, ¶¶ 36, 37.

        However, Plaintiffs have no credible evidence whether, when, and if so,

how, in fact, Grace S. Aoki attempted to press any of her medical alert buttons on

November 25, 2019; no credible evidence whether, when, and if so, how, in fact,

the pendant failed on November 25, 2019; and no credible evidence establishing

the time and cause(s) of Grace S. Aoki’s death on November 25, 2019, to a

reasonable degree of medical probability. Without such evidence, Plaintiffs’ case

is one of conjecture and speculation. Without such evidence, Plaintiffs cannot
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 2 of 33          PageID #:
                                   1053



meet their burden of proving that Defendants were a legal cause of Grace S.

Aoki’s death, and Plaintiffs’ claims must fail for lack of causation.

II.    BRIEF PROCEDURAL HISTORY

       On September 24, 2020, Plaintiffs filed an action, Colette Aoki, Individually,

et al. vs. MOBILEHELP, LLC; et al., in Hawai’i state court. See ECF 1-1. On

October 29, 2020, the action was timely removed to this court. ECF 1. On

November 11, 2020, an Answer was filed on behalf of all 4 named-defendants.

ECF 8. On December 22, 2020, a STIPULATION FOR PARTIAL DISMISSAL

WITHOUT PREJUDICE OF DEFENDANTS MOBILEHELP HOLDINGS, LLC

and MOBILEHELP EMPLOYEE HOLDINGS, LLC; & ORDER, was filed. ECF

26. The two movants, MOBILEHELP, LLC (“MH”) and MOBILEHELP

GROUP HOLDINGS, LLC (“MGH”) remain in the case.

III.   STATEMENT OF THE CASE

       Defendant MH, formed as Integrity Tracking, LLC, was a Pennsylvania

LLC until March 29, 2017, when it was re-domiciled as a Delaware LLC. MH is

qualified in Florida, and headquartered at 5050 Conference Way N., Suite 125,

Boca Raton, Florida 33431. MH transacts business throughout the United States

and is a provider of mobile Personal Emergency Response Systems and health

management solutions. CSF at no. 1.




                                          2
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 3 of 33          PageID #:
                                   1054



        Defendant MGH, was formed and is registered as a Delaware LLC. MGH is

an equity holding company whose only purpose is to own equity in MOBILE-

HELP HOLDINGS, LLC (one of the entities dismissed via ECF 26). MGH has no

employees, does not transact or engage in business, does not provide goods or

services to consumers, does not advertise, and does not have any interaction with

MH or MH’s business operations. CSF at no. 1.

        On or about October 12, 2011, Ms. Linda L. Sakuma (“Ms. Sakuma”)

purchased an MH medical alert system for her friend, Grace S. Aoki (“Ms.

Aoki”).1 Ms. Sakuma purchased the MH Classic System, which included a wired

base station, a neck pendant, and a wrist button. CSF at no. 3.

        On or about October 14, 2011, MH shipped the enumerated items on MHL

0043, to Ms. Aoki at 869 Ahukini Street, Honolulu, HI 96825-2515. This

shipment included, inter alia, the system and the MH Personal Emergency System

Monitoring Agreement (MHL 0213-216) (hereinafter, “the Agreement”). CSF at

no. 3. The Agreement, between MH (“the Company”) and Ms. Aoki (“the

Subscriber”), stated that:

        By activating the System (as defined below) and sending a test signal to the
        Center (as defined below), the Subscriber confirms that he/she has read this
        Agreement and accepts all of the terms and conditions contained herein.

CSF at no. 3 (MHL 0213; hi-lites added).


1
    On the same day, Ms. Sakuma also purchased an identical MH system for herself.

                                          3
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 4 of 33        PageID #:
                                   1055



      Paragraph 3 of the Agreement stated that:

     3.     THE SYSTEM AND MONITORING SERVICE HAS CERTAIN
LIMITATIONS. IN CONSIDERATION FOR THE PROVISION OF THE SYSTEM
AND MONITORING SERVICE, YOU ACKNOWLEDGE THAT WE DO NOT
REPRESENT OR WARRANT THAT THE SYSTEM OR MONITORING SERVICE
WILL PREVENT DEATH, BODILY OR PERSONAL INJURY, OR ANY OTHER
INJURY OR DAMAGE TO YOU OR OTHERS WHO USE THE SYSTEM AND YOU
OR OTHERS WHO USE THE SYSTEM DO NOT AND HAVE NOT RELIED UPON
ANY EXPRESS OR IMPLIED REPRESENTATION BY COMPANY TO THAT
EFFECT. WE MAKE NO REPRESENTATION OR WARRANTY AS TO THE
PROMPTNESS OF OUR OR THE CENTER'S RESPONSE, AND WE HAVE NO
CONTROL OVER THE RESPONSE TIME OR CAPABILITY OF ANY AGENCY OR
PERSON WHO MAY BE NOTIFIED AS A RESULT OF THE SYSTEM BEING USED.
YOU FURTHER UNDERSTAND THAT WE OR THE CENTER MAY BE
NEGLIGENT IN PROVIDING THE SERVICE, AND MAY FAIL TO PROPERLY
RESPOND TO THE RECEIPT OF AN EMERGENCY SIGNAL FROM THE SYSTEM,
OR THAT THE SYSTEM MAY FAIL TO FUNCTION PROPERLY. IT IS
UNDERSTOOD THAT A PORTION OF THE SYSTEM RELIES UPON THE
AVAILABILITY OF CELLULAR NETWORK COVERAGE TO OPERATE
PROPERLY AS WELL AS THE AVAILABILITY OF SATELLITE GPS DATA, BOTH
OF WHICH ARE PROVIDED BY A THIRD PARTY THAT IS NOT CONTROLLED
BY THE COMPANY. YOU AGREE THAT IF WE OR THE CENTER WERE TO HAVE
ANY LIABILITY GREATER THAN THAT AGREED TO BY YOU PURSUANT TO
SECTION 17 OF THIS AGREEMENT, WE COULD NOT AND WOULD NOT
PROVIDE THE SYSTEM OR SERVICE. YOU ACKNOWLEDGE THAT YOU
SHOULD OBTAIN ANY LIFE, MEDICAL, LONGTERM CARE OR DISABILITY
INSURANCE FOR THE PROTECTION OF YOURSELF AND OTHERS WHO MAY
USE THE SYSTEM. YOU UNDERSTAND THAT THERE ARE ALTERNATIVES
AVAILABLE TO YOU SUCH AS 911 EMERGENCY TELEPHONE SERVICE AND
YOU HAVE SELECTED THIS SERVICE WITH A FULL UNDERSTANDING OF ITS
LIMITATIONS, AND THE LIMITATION OF OUR LIABILITY SET FORTH IN
SECTION 16.

CSF at no. 3 (MHL 0213; hi-lites added).

      Paragraph 7 of the Agreement set out the SUBSCRIBER’S DUTIES:

      “You shall:
      (a) install and test the System in accordance with the instructions provided
      including performing a range test, GPS lock test, and a signal test to the
      Center;


                                        4
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 5 of 33         PageID #:
                                   1056



      (b) use the System and Monitoring Service in accordance with the terms and
      conditions of this Agreement and the procedures and specifications
      provided by Company and shall not use the System and Monitoring
      Service for any other purposes;
      (c) instruct all other persons who may use the System (“Users”) on its
      proper use;
      (d) test the System and send test signals to the Center on a
      monthly basis to ensure the proper operation of the System. If the
      Center does not respond to the test signal, you should call the
      customer support number indicated in the User Guide and confirm
      the status of the test; * * *
      (g) provide and be responsible for suitable electrical service
      for installation and operation of the System; * * *”

CSF at no. 3 (MHL 0214; hi-lites added).

      Ms. Aoki received her MH shipment on October 24, 2011. Under Summary,

the 6th entry to MHL 0107 (an all account tickets spreadsheet maintained by MH

for Ms. Aoki) denotes “Delivery 10/24”. On October 26, 2011, Ms. Aoki’s MH

system was successfully activated, set up and tested with the help of an MH

technician. Under Description, the 6th entry to MHL 0107 reads:

      10.26.2011 @ 2:31 PM: George Beers - SP-2 testing successfully
      completed. Successful signal from BS (01) and Pendant/WB tested
      successfully. Operator Response from Central Station was successful.

CSF at no. 4.

      On or about December 28, 2013, MH placed an order to upgrade Ms. Aoki’s

system from a wired, to a cellular base station. On or about December 30, 2013,

MH shipped the enumerated items on MHL 0074 to Ms. Aoki’s home. This

shipment included, inter alia, a new cellular base station, a new neck pendant, a



                                         5
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 6 of 33           PageID #:
                                   1057



new (black) wrist button, a return label for her to send her original equipment back

to MH, and a wireless base station User Guide. CSF at no. 5. Ms. Aoki received

this MH shipment on or before January 14, 2014, and on or about January 14,

2014, Ms. Aoki’s new system was successfully set up and tested with the help of

an MH technician, with her daughter Charlene Aoki also on the call. CSF at no. 5.

Under Description, the 10th entry to MHL 0107 reads:

   1.14.2014 @ 5:19 PM: Janet Manzolillo - Spoke with daughter Charlene
   and Grace Aoki to test Cell Classic but it was GMS CS and no migration
   incident was created. I completed migration and testing. <br/>Successful
   signals from CBS (EBW EPW EPW). Operator Response from Central
   Station was successful. Triangulate successful. SP-2 testing successfully
   completed. <br/>1.9.2014 @ 2:37 PM: Jean Andre - Grace advised that her
   daughter will set it up and test it on the weekends <br/>12.31.2013 @ 12:38
   PM: Jean Andre - ETA 1/07/14.

CSF at no. 5.

      Between 2015 and the latter part of 2019, Ms. Aoki would have received

seasonal newsletters from MH. The purpose of these newsletters was to make MH

customers feel engaged with other MH customers, to provide useful (and perhaps

entertaining) information to MH users, and to remind customers to test their

equipment on a monthly-basis. CSF at no. 6.

      On November 25, 2019, Ms. Aoki was 84 years old (1½ months shy of her

85th birthday). She lived alone in her Hawaii Kai home. Ms. Aoki had a number

of serious co-morbidities, including legal blindness, heart attack/triple bypass

surgery (2012), type II diabetes with renal complication, stage IV chronic renal

                                          6
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 7 of 33          PageID #:
                                   1058



disease (severe) -- but she made very clear that she did not want dialysis treatment.

CSF at no. 8.

      On November 25, 2019, Ms. Aoki was supposed to meet her daughters at

Kahala Mall. The Handi-Van was to pick her up at about 10:00 a.m. and drive her

to the mall. Apparently, when the Handi-Van driver showed up at Ms. Aoki’s

home at about 9:59 a.m., no one answered the door, so the driver left at about

10:05 a.m. CSF at no. 9 (at p. 0078; PU Arr 9:59a; PU Dep 1005a).

      After her daughters were unable to reach her on the telephone, they went to

Ms. Aoki’s home and found her face-down and non-responsive on her bedroom

floor. 911 was called. The Honolulu Fire Dept. arrived first, followed by EMS at

about 11:32 a.m. After 20-minutes of unsuccessful attempts to resuscitate her, Ms.

Aoki remained asystolic and EMS stopped CPR and pronounced her dead at the

scene. A hematoma was noted to the right orbital area of her face. The presence

of dried blood was noted. There was no EMS transport. CSF at no. 10. Later the

same day (11/25/19), Ms. Aoki’s body was transported directly from her home to

Nuuanu Memorial Park & Mortuary. CSF at no. 11. No autopsy was conducted of

Ms. Aoki. CSF at no. 12. On November 27, 2019, Joey Y. Kohatsu, M.D., Ms.

Aoki’s last primary care physician (PCP), certified her Certificate of Death. CSF

at no. 17. Ms. Aoki’s body was cremated on December 2, 2019. CSF at no. 13.




                                          7
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 8 of 33             PageID #:
                                   1059



      Prior to November 25, 2019, Ms. Aoki did, in fact, periodically test her MH

system. Historical MH records showed that between August 9, 2015 and June 18,

2019, Ms. Aoki tested her system eight (8) times. CSF at no. 7 (Exhibit G);

compare ECF 1-1, ¶ 31 (claiming the system was “tested regularly”); CSF no. 7

(Exhibit H) (“She has tested the unit on many occasions . . . “). However,

Plaintiffs admitted in their discovery responses that: “We do not believe mom

tested her system monthly” and “We do not believe anyone tested the system

monthly.” CSF at no. 19.

IV.   LEGAL STANDARD

      Summary judgment is appropriate when there is no genuine issue as to any

material fact and the movant is entitled to judgment as a matter of law. FRCP

56(a). FRCP 56(a) mandates summary judgment “against a party who fails to

make a showing sufficient to establish the existence of an element essential to the

party’s case, and on which that party will bear the burden of proof at trial.” See

Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548 (1986). The movant

may prove there is no genuine issue of material fact and that it is entitled to

judgment as a matter of law, by demonstrating an absence of evidence to support

the non-moving party's case. Celotex, 477 U.S. at 325. The movant bears the

initial burden of “identifying for the court the portions of the materials on file that

it believes demonstrate the absence of any genuine issue of material fact.” T.W.



                                           8
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 9 of 33           PageID #:
                                   1060



Elec. Serv., Inc. v. Pac. Elec. Contractors Ass'n, 809 F.2d 626, 630 (9th

Cir.1987) (citing Celotex, 477 U.S. at 323). However, the movant has no burden

to either negate or disprove matters upon which the non-moving party bears the

burden of proof at trial. Nor is the movant required to produce any evidence on

matters for which it does not bear the burden of proof at trial. See Celotex, 477

U.S. at 325.

      To defeat summary judgment, Plaintiffs must show there is sufficient

evidence for a reasonable jury to return a favorable verdict for them on that

particular claim. See Nidds v. Schindler Elevator Corp., 113 F.3d 912, 916 (9th

Cir.1997); see also, Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (a

party cannot “rest upon the mere allegations or denials of his pleading” in opposing

summary judgment); Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574,

586-87 (1986) (opposing party must do more than merely raise some metaphysical

doubt as to the material facts, and must come forward with specific facts

demonstrating a genuine issue for trial). Plaintiffs cannot defeat summary

judgment in the absence of probative evidence in support of their legal theory.

Commodity Futures Trading Comm'n v. Savage, 611 F.2d 270, 282 (9th Cir.

1979). When considering the evidence on a motion for summary judgment, the

court must draw all reasonable inferences on behalf of the nonmoving party.

Matsushita Elec., 475 U.S. at 587. However, “[i]f the evidence is merely



                                          9
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 10 of 33          PageID #:
                                   1061



 colorable, or is not significantly probative, summary judgment may be granted.”

 Nidds, 113 F.3d at 916 (quoting Anderson, 477 U.S. at 249-50) (brackets added).

 V.    DISCUSSION

       A.     Counts V, VI, and VII of Plaintiffs’ Complaint are Time-Barred
              by the UCC Statute of Limitations.

              1.    Plaintiffs’ Complaint Was Filed More than Four
                    Years after Tender of Delivery of the Products.

       Plaintiffs’ claims for breach of implied or express warranty are governed by

 the four-year statute of limitations (“SOL”) in HRS § 490:2-725, providing that:

       (1) An action for breach of any contract for sale must be commenced
       within 4 years after the cause of action has accrued. * * *

       (2) A cause of action accrues when the breach occurs, regardless of the
       aggrieved party’s lack of knowledge of the breach. A breach of warranty
       occurs when tender of delivery is made, except that where a warranty
       explicitly extends to future performance of the goods and discovery of the
       breach must await the time of such performance the cause of action accrues
       when the breach is or should have been discovered.

 (emphasis added); see Teel v. American Steel Foundries, 529 F.Supp. 337, 343

 (E.D.Mo. 1981) (plain meaning of UCC §2-725(2) is that the SOL begins to run

 when delivery of the product is tendered to the purchaser; to read it any other way

 would be to disregard its plain and unambiguous meaning). Accordingly, a breach

 of warranty claim must be brought within 4-years from the manufacturer’s tender

 of delivery of the product. See, e.g., Larsen v. Pacesetter Systems, Inc., 74 Haw.

 1, 11-12, 837 P.2d 1273, 1280 (S.Ct. 1992) (4-year UCC SOL applied to plaintiff’s



                                          10
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 11 of 33            PageID #:
                                   1062



 breach of implied warranty claim for personal injury); Torres v. Northwest

 Engineering Co., 86 Hawai’i 383, 398, 949 P.2d 1004, 1019 (App. 1997) (“We

 similarly conclude that the UCC statute of limitations applies to a breach of

 express warranty claim for personal injury”) (citing Larsen, supra).

       Here, it is undisputed that Ms. Aoki’s MH medical alert system alleged to be

 in her possession on November 25, 2019, had been shipped by MH on December

 30, 2013, received by her on or before January 14, 2014, and successfully set up on

 January 14, 2014. See CSF at no. 4. Pursuant to HRS § 490:2-725(2), the SOL on

 any breach of warranty claims arising from those MH products received by Ms.

 Aoki on or before January 14, 2014, ran 4-years thereafter – on or around January

 14, 2018. Plaintiffs filed their warranty claims on September 24, 2020 – about 2

 years & 8 months after the 4-year SOL had already run, thus HRS § 490:2-725

 bars these untimely claims. In addition, Plaintiffs have failed to identify any

 written warranties upon which their breach of express warranty claims are

 purportedly based. CSF at no. 16.

              2.     But Even Assuming, Arguendo, an Alleged Express Warranty
                     That the Subject Medical Alert System was “Fit, Appropriate
                     and Safe for Use” Exists, It is Not Exempt from the 4-Year
                     SOL Because it Does Not Explicitly Extend to Future
                     Performance.

       At ¶ 79 of their Complaint, under Count VI (Breach of Express Warranty),

 Plaintiffs allege that “Defendants warranted to Plaintiffs by affirmation of fact,



                                           11
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 12 of 33           PageID #:
                                   1063



 promise, description, sample, and/or model that the subject medical alert system

 was fit, appropriate and safe for use.” ECF 1-1 at ¶ 79; but see, CSF at no. 16.

 Even assuming, arguendo, that this even remotely qualifies as a UCC express

 warranty (which Defendants dispute), the 4-year SOL would still render Plaintiffs’

 breach of express warranty claims untimely as a matter of law. That is, the HRS §

 490:2-725(2) exception for an explicit warranty extending to future performance,

 does not apply (nor could it apply) to this unidentified warranty.

       In addition, even assuming, arguendo, that what is described at ¶ 79 of the

 Complaint even remotely qualifies as a UCC express warranty (which Defendants

 dispute), it does not by its own terms “explicitly extend to future performance of

 the goods”. HRS § 490:2-725(2). Nor would discovery of the breach, need to

 await the time of future performance, because there was no future time for

 performance provided in Plaintiffs’ purported “express warranty”. See Id. In

 short, the HRS § 490:2-725(2) extension simply does not apply in this case.

              3.    Implied Warranties by Their Very Nature Cannot
                    Explicitly Extend to Future Performance.

       It is a foregone conclusion that implied warranties are not explicit, thus do

 not, and indeed cannot, involve the UCC exception for express warranties of future

 performance. Most courts, including this one, have held that the exception for

 warranties extending to future performance cannot apply to implied warranties

 because by their inherent nature, implied warranties “never explicitly extend to

                                          12
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 13 of 33            PageID #:
                                   1064



 future performance.” Western Recreational Vehicles, Inc. v. Swift Adhesives,

 Inc., 23 F.3d 1546, 1550 (9th Cir. 1994) (citation omitted); see Holliday v. Bell

 Helicopters Textron, Inc., 747 F.Supp. 1396, 1397 (D.Haw. 1990) (by its terms,

 the future performance exception does not apply to implied warranty claims).

       B.     Defendants Are Entitled to Partial Summary Judgment as to
              Count VIII - Breach of Duty of Good Faith and Fair Dealing.

       In every contract, there is an implied covenant of good faith and fair dealing

 that neither party shall do anything to deprive the other of the benefits of the

 agreement. See Simmons v. Puu, 105 Hawai’i 112, 118, 94 P.3d 667, 673 (Sp.Ct.

 2004), quoting Best Place, Inc. v. Penn America Ins. Co., 82 Hawai’i 120, 123,

 920 P.2d 334, 337 (1996). “The obligation to deal in good faith is now a well-

 established principle of contract law.” Simmons, 105 Hawai’i at 119, 94 P.3d at

 674, citing to, Restatement (Second) of Contracts § 205 (1979); Hawai’i Leasing

 v. Klein, 5 Haw.App. 450, 456, 698 P.2d 309, 313 (1985); HRS § 490:1-203 (every

 contract imposes an obligation of good faith in performance or enforcement).

 However, “Hawai‘i generally does not recognize tort claims for breach of good

 faith or fair dealing outside the insurance context.” Alii Sec. Sys. v. Prof’l Sec.

 Consultants, 139 Hawai’i 1, 9, 383 P.3d 104, 112 (App. 2016) (citing with

 approval, Gold Refinery, LLC v. Aloha Island Gold, LLC, 2012 U.S. Dist. LEXIS

 18898, at *7 (D.Haw., Feb. 15, 2012)); Laeroc Waikiki Parkside, LLC v. KSK

 (Oahu) Ltd. P’ship, 115 Hawai’i 201, 229, 166 P.3d 961, 990 (Sp.Ct. 2007)

                                           13
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 14 of 33              PageID #:
                                   1065



 (expressly holding that “there is no tort of bad faith outside the context of

 insurance claims”). Indeed, this court in Stoebner Motors, dismissed claims for

 breach of the implied covenant of good faith and fair dealing (together with the

 plaintiff’s breach of warranty claims), reasoning as follows:

       Based on the new language in Official Comment 1 to § 490:1-304, other
       courts’ interpretations of the section, and the Hawaii Supreme Court’s
       statements limiting the tort of bad faith, the court predicts that the Hawaii
       Supreme Court would interpret HRS § 490:1-203 (and its successor § 490:1-
       304) to preclude an independent cause of action for failure to perform or
       enforce a warranty in good faith. Because the court concludes that there is
       no independent cause of action, Stoebner’s claim for breach of the implied
       covenant of good faith and fair dealing in Count II is dismissed.

 Stoebner Motors, Inc. v. Automobili Lamborghini S.P.A., 459 F.Supp.2d 1028,

 1037-38 (D.Haw.2006); see also, Marisco, Ltd. v. GL Eng’g & Constr. Pre., Ltd.,

 2020 U.S. Dist. LEXIS 112819, at *6 (D.Haw., June 26, 2020) (reiterating that

 Hawai’i law generally does not recognize a tort claim for breach of good faith and

 fair dealing in other than the insurance context). As in Stoebner, Plaintiffs’ claim

 for breach of the implied duty of good faith and fair dealing should be dismissed as

 a matter of Hawai’i law.

       C.     There is No Cognizable Claim in Hawaii for Loss of Chance.

       At Count IX of their Complaint (¶¶ 94-97), Plaintiffs pled a claim for Loss

 of Chance. ECF 1-1. Under Hawai’i law, this claim cannot stand. On May 5,

 2020, the Hawai’i Supreme Court, on certiorari, declined to recognize “Loss of

 Chance” as a separate compensable tort claim under Hawai’i law. Estate of Frey

                                           14
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 15 of 33             PageID #:
                                   1066



 v. Mastroianni, 146 Hawai’i 540, 544, 554, 463 P.3d 1197, 1200, 1212 (2020). In

 its opinion, the Hawai’i Supreme Court expressly noted that “Hawai’i courts, and

 federal courts applying Hawai’i law, have never recognized loss of chance as an

 independent and separately compensable cause of action. Nor have they embraced

 a theory of legal causation other than the one articulated in Mitchell.” Id. at 555,

 463 P.3d at 1212. At least in the context of medical malpractice, the Mastroianni

 court deemed “loss of chance” a “relevant consideration in determining whether a

 defendant’s negligence was a substantial factor in causing the plaintiff’s injury.”

 Id. at 554, 463 P.3d at 1211, quoting Delaney v. Cade, 873 P.2d 175, 185-86 (Kan.

 1994) (“In an action to recover for the loss of a chance to survive …, the plaintiff

 must first prove the traditional elements of a medical negligence action by a

 preponderance of the evidence. The plaintiff must prove that the defendant was

 negligent in treating the patient, that the negligence caused harm to the plaintiff,

 and that as a result the plaintiff suffered damages. In proving that the plaintiff

 suffered harm, the plaintiff must prove that the lost chance of survival . . . was a

 substantial loss of the chance”) (emphasis added). It bears noting, however, that

 the Mastroianni court did not stray from the traditional standard of proof of

 medical causation to a reasonable degree of medical probability. See Id. at 554,

 463 P.3d at 1211; Miyamoto v. Lum, 104 Hawai’i 1, 15-16, 84 P.3d 509, 523-24

 (2004) (plaintiff bears burden of proving all requisite elements of negligence,



                                           15
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 16 of 33           PageID #:
                                   1067



 including legal causation, and in “so doing, the plaintiff may solicit opinions from

 medical experts, but such medical opinions ‘must be grounded upon reasonable

 medical probability as opposed to a mere possibility because possibilities are

 endless in the field of medicine”). In other words, “reasonable medical

 probability” must be proven in a court of law, not by terminology or words, but

 with evidence. See Mastroianni, 146 Hawai‘i at 558, 463 P.3d at 1215 (“in

 determining whether a medical expert’s statement is to a reasonable degree of

 medical probability, we look … to the evidence itself”).

       D.     Count XII - Unfair and/or Deceptive Acts or Practices (HRS Chap
              480) - Should Be Dismissed as a Matter of Law.

       Plaintiffs’ lawsuit is clearly a personal injury claim. Plaintiffs’ UDAP claim

 thus cannot stand because it has long been settled that HRS §§ 480-2 and 480-13

 do not provide a cause of action for personal injury claims. Beerman v. Toro

 Manufacturing Corp., 1 Haw.App. 111, 118, 615 P.2d 749, 754 (1980); see also,

 Blowers v. Eli Lilly and Co., 100 F.Supp.2d 1265, 1267 (D.Haw. 2000) (HRS §§

 480-2 and 480-13 do not provide a remedy for personal injury); Isham v. PADI

 Worldwide Corp., 2007 U.S.Dist. LEXIS 62419, at *64 (D.Haw., Aug. 23, 2007)

 (personal injury plaintiffs cannot maintain UDAP claim because HRS Chap. 480

 does not apply to personal injury claims). HRS § 480-13 only allows lawsuits by a

 “person who is injured in the person’s business or property by reason of” the

 alleged deceptive practice. As the ICA declared in Beerman:

                                          16
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 17 of 33             PageID #:
                                   1068



       The legislative history to §§ 480-2 and 480-13 makes clear that the
       paramount purpose of both statutes is to prevent deceptive practices by
       businesses that are injurious to other businesses and consumers. It does not
       reflect a legislative intent that § 480-13 be used as a vehicle for personal
       injury suits. Indeed, the trebling of awards under § 480-13, if applied to
       personal injuries connotes a punitive use of the statute which was
       specifically rejected by the legislature during its consideration of the original
       legislation from which § 480-3 [sic] arose.

 1 Haw.App. at 118, 615 P.2d at 754-55 (emphases added), citing Senate

 Conference Committee Report No. 19, Senate Journal 1075 (1961); House

 Conference Committee Report No. 16, House Journal 577 (1961) (affirming

 summary judgment dismissal of plaintiff’s HRS § 480-13 claim arising from

 personal injury sustained due to allegedly defective product). While HRS Chapter

 480 was subsequently amended in 1987, this did not change the statute’s express

 preclusion of personal injury claims. See Blowers, 100 F.Supp.2d at 1269.

 Defendants are entitled to summary judgment on Count XII (UDAP claim).

       E.    There is No Factual or Legal Basis for Count XIV - Fraudulent
             Concealment – Which Should Be Dismissed as a Matter of Law.

       It is settled that there is no separate cause of action for fraudulent

 concealment, for which relief can be granted. Rather, an allegation of fraudulent

 concealment may only come into play in the context of an SOL challenge. See,

 e.g., Hexcel Corp. v. Ineos Polymers, Inc., 681 F.3d 1055, 1059-60 (9th Cir. 2012),

 citing Hennegan v. Pacifico Creative Serv., Inc., 787 F.2d 1299, 1302 (9th Cir.

 1986) (an SOL may be tolled in limited situations, where defendant fraudulently



                                           17
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 18 of 33               PageID #:
                                   1069



 concealed the existence of a cause of action such that plaintiff, acting as a

 reasonable person, did not know of its existence); Au v. Au, 63 Haw. 210, 216, 626

 P.2d 173, 178 (1981), quoting Weast v. Duffie, 262 N.W. 401, 402 (1935) (“The

 fraudulent concealment which will postpone the operation of the statute [of

 limitations] must be the concealment of the fact that plaintiff has a cause of

 action”) (brackets added); see also, HRS § 657-20 (extension by fraudulent

 concealment). The Au court defined fraudulent concealment as:

       “employment of artifice, planned to prevent inquiry or escape
       investigation, and misled or hinder acquirement of information
       disclosing a right of action. The acts relied on must be of an
       affirmative character and fraudulent.”

 Au, 63 Haw. at 215, 626 P.2d at 178. Plaintiffs have proffered no evidence that

 Defendants affirmatively and fraudulently concealed either known risks associated

 with the MH medical alert system alleged to be in the possession of Ms. Aoki on

 November 25, 2019, or the existence of a right of action, to give rise to an

 extension of the applicable SOL.2 Full disclosure of limitations of the system was

 made to all subscribers, including Ms. Aoki. CSF at no. 3. Ms. Aoki’s upgraded

 MH system was successfully set up, tested, and fully operational on January 14,

 2014. CSF at no. 5. Ms. Aoki’s MH system functioned without any reported

 problem for at least about 5 years and 10-months – until Plaintiffs claimed the


 2
   At section V.A., supra, Defendants are simultaneously seeking summary
 judgment on Plaintiffs’ breach of warranty claims based on the UCC SOL.

                                           18
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 19 of 33           PageID #:
                                   1070



 system failed on November 25, 2019. There is simply no factual or legal basis for

 Plaintiffs’ claim of fraudulent concealment.3

       On August 18, 2021, The Estate was asked to: “14. Describe in detail all

 facts, information, and witnesses which you contend support your claim for

 fraudulent concealment in this lawsuit” and responded: “Please see number 6.

 You knew the unit and pendant were not being tested monthly and did/said

 nothing. You knew the battery in the pendant would only last a few years and

 did/said nothing.” In turn, The Estate responded to interrogatory no. 6 as follows:

 “You target seniors by advertising in AARP Magazine, for example. You

 promised peace of mind 24/7. You promised to keep Grace Aoki safe. You failed

 to honor your promises. Your failures caused the death of Grace Aoki.” CSF at

 no. 14. Neither of The Estate’s foregoing interrogatory responses (which are



 3
   Nor, for that matter, can Plaintiffs establish fraud. The requisite elements of a
 claim for fraud, as established by the Hawai’i Supreme Court, are: (1) false
 representations were made by the defendants; (2) with knowledge of their falsity
 (or without knowledge of their truth or falsity); (3) in contemplation of plaintiff's
 reliance upon these false representations; and (4) plaintiff did rely upon them.
 Ass’n of Apartment Owners of Newtown Meadows v. Venture 15, Inc., 115
 Hawai’i 232, 263, 167 P.3d 225, 256 (2007) (quoting Shoppe v. Gucci Am., Inc.,
 94 Hawai’i 368, 386, 14 P.3d 1049, 1067 (2000)) (internal brackets omitted); see
 Stahl v. Balsara, 60 Haw. 144, 149, 587 P.2d 1210, 1214 (1978) (stating that
 “fraud cannot be predicated on statements which are promissory in their nature, or
 constitute expressions of intention, and an actionable representation cannot consist
 of mere broken promises, unfulfilled predictions or expectations, or erroneous
 conjectures as to future events, even if there is no excuse for failure to keep the
 promise, and even though a party acted in reliance on such promise”).

                                          19
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 20 of 33                PageID #:
                                   1071



 argumentative, and assert allegations, rather than facts) rises to the level of

 material evidence that Defendants affirmatively and fraudulently concealed either

 known risks associated with the MH medical alert system alleged to be in the

 possession of Ms. Aoki on November 25, 2019, or the existence of a right of

 action. See Au, 63 Haw. at 215, 626 P.2d at 178. But even assuming, arguendo,

 that these interrogatory responses could be deemed to raise an issue of material fact

 (which Defendants dispute, pursuant to FRCP 56(c)(2)), they would at most raise a

 factual issue with respect to Plaintiffs’ negligence claim – but not as to their

 meritless claim for fraudulent concealment. It is the plaintiff who bears “the

 burden of pleading and proving fraudulent concealment; it must plead facts

 showing that [the defendant] affirmatively misled it, and that [the plaintiff]

 had neither actual nor constructive knowledge of the facts giving rise to its claim

 despite its diligence in trying to uncover those facts.” Hexcel, supra, 681 F.3d at

 1059-60, quoting Conmar Corp. v. Mitsui & Co. (U.S.A.), Inc., 858 F.2d 499, 502

 (9th Cir. 1988) (citing Rutledge v. Boston Woven Hose & Rubber Co., 576 F.2d

 248, 249-50 (9th Cir. 1978)) (emphasis & brackets added). A fraudulent

 concealment defense requires a two-prong showing that the defendant used fraud

 to keep the plaintiff unaware of his cause of action, and that the plaintiff was, in

 fact, ignorant of the existence of his cause of action.” Wood v. Santa Barbara




                                           20
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 21 of 33             PageID #:
                                   1072



 Chamber of Commerce, Inc., 705 F.2d 1515, 1521 (9th Cir. 1983) (emphasis

 added).

       As to the first prong, this court noted that “[m]erely keeping someone in the

 dark is not the same as affirmatively misleading him.” Isham, supra, at *46-47,

 quoting Thorman v. Am. Seafoods Co., 421 F.3d 1090, 1095 (9th Cir. 2005).

       As to the second prong, this court further stated that the purpose of equitable

 tolling, particularly in reference to a claim for fraudulent concealment, “focuses on

 whether there was excusable delay by the plaintiff” and “may be applied if, despite

 all due diligence, a plaintiff is unable to obtain vital information bearing on the

 existence of his claim.” Isham, supra, at *46-47, quoting Huseman v. Icicle

 Seafoods, Inc., 471 F.3d 1116, 1120 (9th Cir. 2006).

       Nothing in Plaintiffs’ Complaint—which entirely fails to plead any alleged

 fraudulent conduct with the requisite particularity—can salvage this claim. FRCP

 Rule 9(b) is clear: “In alleging fraud or mistake, a party must state with particular-

 ity the circumstances constituting fraud or mistake.” The Ninth Circuit was more

 explicit: “[t]o satisfy Rule 9(b), a pleading must identify ‘the who, what, when,

 where, and how of the misconduct charged,’ as well as ‘what is false or misleading

 about [the purportedly fraudulent] statement, and why it is false.’” Cafasso, U.S.

 ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011); see

 also, Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (“To comply with



                                           21
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 22 of 33            PageID #:
                                   1073



 Rule 9(b), allegations of fraud must be specific enough to give defendants notice of

 the particular misconduct which is alleged to constitute the fraud charged so that

 they can defend against the charge and not just deny that they have done anything

 wrong”, quoting Bly—Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001));

 and Lancaster Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397, 405 (9th

 Cir. 1991) (a complaint adhering to FRCP Rule 9(b) must “detail with particularity

 the time, place, and manner of each act of fraud, plus the role of each defendant in

 each scheme”). By all of the foregoing, Defendants are entitled to partial summary

 judgment on Count XIV (fraudulent concealment).

       F.     There is No Evidence, Much Less Clear and Convincing Evidence,
              to Support Plaintiffs’ Claim (Count XI) of Gross Negligence
              Against Defendants.

       At Count XI of their Complaint, Plaintiffs allege that the conduct of

 Defendants “represents an extreme departure from the ordinary standard of care”;

 “is outrageous and/or exhibits a conscious and voluntary disregard of the need to

 use reasonable care”; “is willful, wanton and/or in reckless disregard of the rights

 and/or safety of Plaintiffs”; and “recklessly placed consumers at risk of serious

 physical injury.” ECF 1-1 at ¶¶ 103-105. In Hawai’i, a claim for gross negligence

 requires “a showing of an entire want of care which would raise the presumption of

 conscious indifference to consequences.” Mullaney v. Hilton Hotels Corp., 634

 F.Supp.2d 1130, 1154 (D. Haw. 2009) (citing Ass’n of Apartment Owners v.



                                          22
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 23 of 33             PageID #:
                                   1074



 Venture 15, Inc., 115 Hawai’i 232, 297, 167 P.3d 225, 290 (2007)). The requisite

 “entire want of care” cannot be rooted in “mere inadvertence, mistakes or errors in

 judgment”, but rather, “must be such that one would presume that ‘the defendant

 was consciously, i.e., knowingly, indifferent to [the plaintiffs’] rights, welfare, and

 safety.’” Mullaney, 634 F.Supp.2d at 1154-55, citing Venture 15, 115 Hawai’i at

 297, 167 P.3d at 290, and Burk Royalty Co. v. Walls, 616 S.W.2d 911, 922 (Tex.

 1981) (brackets in original)). “This mental attitude is what ‘lifts ordinary

 negligence into gross negligence’ and what ‘justifies the penal nature of the

 imposition of exemplary damages.’” Mullaney, 634 F.Supp.2d at 1154 (citing

 Burk, 616 S.W.2d at 922). Furthermore, Hawai’i law requires that claims of gross

 negligence be proven by no less than clear and convincing evidence. See, e.g.,

 Iddings v. Mee-Lee, 82 Hawai’i, 1, 14, 919 P.2d 263, 276 (1996) (requiring that

 alleged willful and wanton misconduct, be proven by clear and convincing

 evidence); Thinh Luong v. Segueira, 2018 U.S. Dist. LEXIS 168706 at *23-24,

 31-33 (D.Haw., Sept. 18, 2018) (claims of gross negligence and/or willful or

 wanton conduct must be proven by clear and convincing evidence); cf. Udac v.

 Takata Corp., 121 Hawai’i 143, 165-69, 214 P.3d 1133, 1155-59 (App. 2009)

 (where evidence relied upon by plaintiffs to support punitive damages, did not

 amount to clear and convincing evidence that defendant both had notice of

 product’s susceptibility and acted with an “entire want of care which would raise



                                           23
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 24 of 33             PageID #:
                                   1075



 the presumption of a conscious indifference to consequences”, trial court abused its

 discretion by denying defense motion for JMOL on punitive damages). The

 Hawai’i Supreme Court defines clear and convincing as:

       “that degree of proof which will produce in the mind of the
        trier of fact a firm belief or conviction as to the allegations
        sought to be established, and requires the existence of a fact
        be highly probable.”

 Masaki v. General Motors Corp., 71 Haw. 1, 15, 780 P.2d 566, 574 (1989); see

 also, Anderson v. Liberty, supra, 477 U.S. at 252, 256 (to defeat summary

 judgment on punitive damages claim, plaintiff must show there exists clear and

 convincing evidence in the record that defendant acted with actual malice);

 Kauhale v. ADT Automotive Servs., Inc., 2 F.Supp.2d 1295, 1302-03, n.5 (D.Haw.

 1998) (in Hawai’i, punitive damages may be awarded only when defendant has

 acted egregiously, with “a character of outrage frequently associated with a

 crime”); Jones v. Phillipson, 92 Hawai’i 117, 122, 987 P.2d 1015, 1020 (1999)

 (punitive damage claim properly denied where there was no evidence, as opposed

 to mere speculative testimony, of deception, willful or malicious conduct).

       When asked to: “10. Describe in detail all facts and other information,

 which you contend demonstrates clear and convincing evidentiary support for your

 claim for punitive damages against Defendants in this action[,]” The Estate

 responded in part: “We do not know what this question means.” When further

 asked to: “11. Identity each and every witness whom you will rely upon to

                                         24
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 25 of 33           PageID #:
                                   1076



 demonstrate clear and convincing evidentiary support for your claim for punitive

 damages against Defendants in this action[,]” The Estate simply referred

 Defendants to no. 10. CSF at no. 15. As Plaintiffs have no clear and convincing

 evidence that either of Defendants acted with gross negligence, Count XI of the

 Complaint should be dismissed as a matter of law.

       G.     Plaintiffs’ Claim for Civil Conspiracy (Count XIII) Is Legally and
              Factually Baseless, and Should Be Dismissed.

       Defendants MH and MGH remain in this case. See ECF 26. At Count XIII

 of their Complaint, Plaintiffs pled that MH and MGH “conspired unlawfully” (¶

 123); “took significant steps in furtherance of the conspiracy” (¶¶ 124, 125); that

 “Defendants’ conspiratorial and unlawful conduct was extreme and outrageous” (¶

 126); and that Plaintiffs have been damaged as a result (¶¶ 127, 128). See ECF 1-

 1. These allegations are utterly baseless. CSF at no. 1. While Plaintiffs accuse

 MH and MGH of unlawfully conspiring, they have completely failed to allege that

 there was an agreement to commit fraud, or that MH and MGH somehow acted in

 concert to commit fraud.4 Nor do Plaintiffs allege that the conspiracy to commit

 fraud caused any damages over and above the alleged fraud itself. Also, when

 asked to: “Describe in detail all facts, information, and witnesses which you


 4
   Also, there must be clear and convincing evidence to support a finding of fraud.
 See Shanghai Inv. Co. v. Alteka Co., 92 Hawai’i 482, 497, 993 P.2d 516, 531
 (2000); overruled on other grds. by Blair v. Ing, 96 Hawai’i 327, 331 n.6, 335-36,
 31 P.3d 184, 188 n.6, 192-93 (2001).

                                          25
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 26 of 33             PageID #:
                                   1077



 contend support your claim for civil conspiracy in this lawsuit”, The Estate

 responded: “We do not know what this means.” CSF at no. 2.

       “The accepted definition of a conspiracy is a combination of two or more

 persons [or entities] by concerted action to accomplish a criminal or unlawful

 purpose, or to accomplish some purpose not in itself criminal or unlawful by

 criminal or unlawful means.” Robert’s Haw. Sch. Bus. Inc. v. Laupahoehoe

 Transp. Co., 91 Hawai’i 224,252 n.28, 982 P.2d 853, 881 n.28 (1999), overruled

 on oth. grds. by Haw. Med. Ass’n v. Haw. Med. Serv. Ass’n, 113 Hawai’i 77, 148

 P.3d 1179 (2006). More recently, civil conspiracy was addressed in Miyashiro v.

 Roehrig, Roehrig, Wilson & Hara, 122 Hawai’i 461, 482, 228 P.3d 341, 362

 (App. 2010):

       The Hawai'i Supreme Court has defined civil conspiracy as the
       “combination of two or more persons or entities by concerted action to
       accomplish a criminal or unlawful purpose, or to accomplish some
       purpose not in itself criminal or unlawful by criminal or unlawful means.”
       The supreme court explained that “[c]ivil conspiracy does not alone
       constitute a claim for relief.” In other words, concerted action is not enough.
       A civil conspiracy claim must include either that the alleged conspirators
       had a criminal or unlawful purpose for their concerted action or that the
       alleged conspirators used criminal or unlawful means to accomplish a lawful
       objective.

 (internal citations omitted). See also, Adams v. Dole Food Co., 132 Hawai’i 478,

 490, 323 P.3d 122, 134 (App. 2014) (“there can be no civil claim based upon a

 conspiracy alone”) (quoting Ellis v. Crockett, 51 Haw. 45, 57, 451 P.2d 814, 822

 (1969)); Tour2000 Co. v. Koreana Tour Serv., Inc., 2009 Haw. App. Lexis 675, at

                                          26
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 27 of 33             PageID #:
                                   1078



 *26 (Oct. 23, 2009) (“civil conspiracy does not alone constitute a claim for relief”

 and “mere acquiescence or knowledge is insufficient to constitute a conspiracy,

 absent approval, cooperation, or agreement”); Zimmerman v. Grolle, 38 Haw. 217,

 226 (Haw. 1948) (“mere knowledge, acquiescence, or approval of the act, without

 co-operation or agreement to co-operate, is not enough to constitute one a party to

 a conspiracy. There must be intentional participation in the transaction with a view

 to the furtherance of the common design and purpose”) (footnote & citation

 omitted).

       Thus, to prevail on a claim for civil conspiracy, Plaintiffs cannot merely

 allege, but must prove there was (a) an agreement by two or more persons, (b) to

 accomplish an unlawful purpose, and (c) that the alleged conspiracy caused

 damages. Here, Plaintiffs have completely failed to establish the elements

 essential to a civil conspiracy claim, thus FRCP 56(a) mandates that partial

 summary judgment be entered against them on such claim as a matter of law.

 Celotex, 477 U.S. at 322, 325.

       H.     As Plaintiffs Cannot Prove the Cause of Grace S. Aoki’s Death,
              They Cannot Prove Defendants Were the Legal Cause of Her
              Death.

       HRS § 663-3 permits recovery where “the death of a person is caused by the

 wrongful act, neglect, or default of any person.” (emphasis added). To state a

 cognizable wrongful death claim, Plaintiffs must describe Defendants’ wrongful



                                          27
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 28 of 33             PageID #:
                                   1079



 acts and state facts sufficient to establish how the alleged wrongful acts caused the

 death of Grace S. Aoki. See Hyer v. C&C of Honolulu, 2020 U.S.Dist. Lexis

 223621, *32-33 (D.Haw., Nov. 30, 2020). Here, Plaintiffs allege that the MH

 medical alert system failed and such failure caused Grace S. Aoki’s death, which

 in turn caused loss of consortium to Plaintiffs Colette and Charlene Aoki. See ECF

 1-1, ¶¶ 36, 37, 48, 49, 56, 62, 67, 99, 1015. Plaintiffs allege, inter alia, that the MH

 medical alert system failure amounts to Negligence (Count I), Negligent Failure to

 Warn (Count II), Strict Product Liability (Count III), and Strict Product Liability-

 Failure to Warn (Count IV). See ECF 1-1, ¶¶ 48, 55, 61, 666. But the mere co-

 existence of negligence and injury establishes nothing. See Mitchell v. Branch, 45

 Haw. 128, 131-32, 363 P.2d 969, 973 (1961). Hawai’i law is clear that whether

 Plaintiffs proceed on a negligence theory, or a strict product liability (defect)

 theory, they must prove, by a preponderance of the evidence, that Defendants

 legally caused Grace S. Aoki’s death. Wagatsuma v. Patch, 10 Haw.App. 547,

 564, 879 P.2d 572, 583 (1994), cert. denied (1994); see also, Miyamoto, supra,

 104 Hawai’i at 15, 84 P.3d at 523 (plaintiff bears burden of proving all elements of


 5
   It is settled that “where the initial claim of injury cannot be maintained[,] the
 derivative action of loss of consortium must also fail.” Towse v. State, 64 Haw.
 624, 636, 647 P.2d 696, 705 (1982). Thus, to the extent some or all of the claims
 addressed in this Motion are dismissed on summary judgment, so too would any
 claims for loss of consortium deriving therefrom. See Count X of Plaintiffs’
 Complaint.
 6
   Erroneously referring to “electronic cigarette”.

                                           28
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 29 of 33             PageID #:
                                   1080



 negligence, including legal causation); Tabieros v. Clark Equip. Co., 85 Hawai’i

 336, 354, 944 P.2d 1279, 1297 (1997) (in strict product liability, plaintiffs bear the

 burden of proving: “(1) a defect in the product which rendered it unreasonably

 dangerous for its intended or reasonably foreseeable use; and (2) a causal

 connection between the defect and [the] plaintiff’s injuries”); Aga v. Hundahl, 78

 Hawai’i 230, 236, 891 P.2d 1022, 1028 (1995) (defendant’s conduct is a legal

 cause of injury if the conduct is a substantial factor in bringing about the injury).

 A defendant cannot be held liable “for every possible result of his or her conduct”

 and the plaintiff must prove that the defendant’s conduct was a legal cause of the

 harm – meaning “a cause that is legally sufficient to result in liability.” O’Grady v.

 State, 140 Hawai’i 36, 44, 398 P.3d 625, 633 (2017).

       In this case, no autopsy of Grace S. Aoki was conducted, and her body was

 cremated on December 2, 2019. CSF at nos. 12, 13. While a Certificate of Death

 (“COD”) was completed and certified on November 27, 2019 by Ms. Aoki’s last

 PCP, Dr. Kohatsu7, the COD was admittedly not based upon an autopsy or other

 forensic examination, or even a physical examination of the body. Rather, Dr.



 7
   Dr. Kohatsu was Ms. Aoki’s PCP from October 31, 2017 until her death on
 November 25, 2019. CSF at no. 17. Dr. Kohatsu is neither board-certified in
 anatomic pathology nor forensic pathology, and is not qualified to perform an
 autopsy in the State of Hawaii. CSF at no. 18; see HRS § 841-14.5.



                                           29
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 30 of 33          PageID #:
                                   1081



 Kohatsu relied on his “best information and belief” from what information was

 available to him at the time. See HRS §338-9(b)(2) (upon presentation of COD to

 physician “last in attendance upon the deceased”, physician shall certify the cause

 of death to his “best knowledge and belief”). CSF at no. 17.

       Dr. Kohatsu could not deny that an autopsy would provide more information

 regarding physical pathology “of what may be going on”, abnormalities, disease

 processes, trauma, and information regarding sources of bleeding. He agreed that

 an autopsy would have facilitated more study of the deceased and generated more

 information about her death. Dr. Kohatsu could not say if and when Ms. Aoki lost

 consciousness on 11/25/19; he could not give a specific time of her death; he did

 not recall receiving information as to a head injury experienced by Ms. Aoki; he

 could not give a specific pathology and diagnosis for the source(s) of Ms. Aoki’s

 GI bleeding on 11/25/19; he could not rule out the possibility that Ms. Aoki

 suffered a stroke or a heart attack on 11/25/19; he could not say one way or the

 other whether Ms. Aoki lost consciousness before she expired; and did not know

 one way or the other whether Ms. Aoki suffered a head injury on 11/25/19. CSF at

 no. 17. In other words, without more information, Dr. Kohatsu could not opine as

 to what actually caused Ms. Aoki’s death, to a reasonable degree of medical

 probability. CSF at no. 18.




                                          30
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 31 of 33                 PageID #:
                                   1082



       Of particular pertinence to the instant case, and under remarkably similar

 facts, the Appellate Court of Connecticut in Theodore v. Lifeline Sys. Co., 173

 Conn. App. 291, 308, 163 A.3d 654, 665 (2017) declared that “[p]roof that a defect

 in the product caused the injury in controversy is a prerequisite to recovery for

 product-caused injury in every products liability case,” whether based on

 negligence, warranty, strict liability, or a combination thereof. See Exhibit P.

 There, an 88-year old woman who lived alone, was found face down and deceased

 in the hallway of her home. Bloody stool was observed in the toilet, believed to be

 related to GI bleeding. Id., 163 A.3d at 658, 659. No autopsy was performed. Id.

 at 670. Her Estate sued Lifeline Sys. Co., provider of the medical alert system in

 the decedent’s home, alleging that the decedent had pressed one of the available

 buttons to initiate a signal to the call center, but no emergency assistance was sent.

 At the close of the plaintiff’s case, the trial court granted defendants’ motion for a

 directed verdict, for plaintiff’s failure to establish causation. Id. at 660. In

 particular, while the decedent’s PCP had testified, to within a reasonable degree of

 medical probability, that her GI bleed was a contributing factor in her death, he

 could not opine that the GI bleed was the sole cause of her death. Id. at 660-61.

 Indeed, she could have died “from any number of causes of which the GI bleed

 was a contributing factor, including cerebral vascular disease, heart attack, or

 stroke.” Nor could her PCP opine to a reasonable degree of medical probability,



                                            31
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 32 of 33             PageID #:
                                   1083



 that had she activated her Lifeline device, she would have lived. Id. at 661. On

 appeal from the trial court’s ruling, the appellate court affirmed. The Theodore

 court held that to demonstrate the requisite causation, it was essential that plaintiff

 prove what caused the decedent’s death. Id. at 669-70. Noting the absence of an

 autopsy, the Theodore court found that without evidence of the cause and timing

 of the decedent’s death, the jury could not find that defendants caused her death, or

 any amount of suffering prior to her death – unless it resorted to conjecture and

 speculation, which is of course, impermissible. See Id. at 670. The plaintiff had

 failed to “establish a sequence of events causally flowing from the defendants’

 negligence to her death.” Id. The Theodore court observed that even if plaintiff

 presented evidence that the decedent had actually utilized her Lifeline device to

 summon help, this at most supported an inference that she died while waiting for a

 response – but not that her death was caused by the lack of such response. Id.

       Here, Plaintiffs’ case suffers from similar infirmities as in Theodore.

 Plaintiffs have no credible evidence whether, when, and if so, how, in fact, Grace

 S. Aoki attempted to press any of her medical alert buttons on November 25, 2019;

 no credible evidence whether, when, and if so, how, in fact, the pendant failed on

 November 25, 2019; and no credible evidence establishing the time and cause(s) of

 Grace S. Aoki’s death on November 25, 2019, to a reasonable degree of medical

 probability. Without such evidence, Plaintiffs’ case is one of conjecture and



                                           32
Case 1:20-cv-00464-HG-RT Document 90-3 Filed 11/15/21 Page 33 of 33             PageID #:
                                   1084



 speculation. Without such evidence, Plaintiffs cannot meet their burden of proving

 that Defendants were a legal cause of Grace S. Aoki’s death – that is, a substantial

 factor in bringing about Ms. Aoki’s death. As such, all of Plaintiffs’ claims must

 fail for lack of causation.

 VI.   CONCLUSION

       There being no genuine issue as to any material fact, Defendants are entitled

 to summary judgment on Counts V, VI, VII, VIII, IX, XI, XII, XIII, and XIV as a

 matter of law.

       In addition, Defendants are entitled to summary judgment on all of

 Plaintiffs’ claims (including, without limitation, Counts I, II, III, IV, and X),

 because, inter alia, Plaintiffs have not proven and cannot prove the time and cause

 of Grace S. Aoki’s death, to a reasonable degree of medical probability. As such,

 Plaintiffs cannot establish that Defendants were a legal cause of Grace S. Aoki’s

 death, and Plaintiffs’ claims fail for lack of causation.

       DATED: Honolulu, Hawaii, November 15, 2021.

                                         /s/ Lois H. Yamaguchi
                                         _____________________________
                                         ARTHUR F. ROECA
                                         LOIS H. YAMAGUCHI
                                         JODIE D. ROECA
                                         Attorneys for Defendants
                                         MOBILEHELP, LLC and MOBILEHELP
                                         GROUP HOLDINGS, LLC




                                            33
